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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

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ANTHONY BELISLE,
                                 :
                     Plaintiff,                   Civil Action
                                 :                No. 19-00189-LM
          v.
                                 :
MARKEL CATCO INVESTMENT
MANAGEMENT LTD AND MARKEL        :
CORP.,
                                 :
                     Defendants.
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               DEFENDANT MARKEL CATCO INVESTMENT
         MANAGEMENT LTD.'S CORPORATE DISCLOSURE STATEMENT

               Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure and Local

Rule 7.1.1, the undersigned counsel for Defendant Markel CATCo Investment Management

Ltd. hereby certifies that it is a wholly-owned subsidiary of Alterra Capital Holdings

Limited, which in turn is a wholly-owned subsidiary of Markel Corporation ("Markel"), a

publicly-held corporation. Markel has no parent company, and no publicly-held corporation

owns 10% or more of Markel's stock.
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Dated: April 3, 2019                                 Respectfully submitted,
       Manchester, New Hampshire
                                                     /s/ Edward J. Sackman
James R. Carroll (pro hac vice forthcoming)          Edward J. Sackman (N.H. Bar ID #19586)
Christopher A. Lisy (pro hac vice forthcoming)       Richard C. Gagliuso (N.H. Bar ID #874)
SKADDEN, ARPS, SLATE,                                Christina A. Ferrari (N.H. Bar ID #19836)
  MEAGHER & FLOM LLP                                 BERNSTEIN, SHUR, SAWYER
500 Boylston Street                                     & NELSON, P. A.
Boston, Massachusetts 02116                          Jefferson Mill Building
(617) 573-4800                                       670 North Commercial Street, Suite 108
james.carroll@skadden.com                            Manchester, New Hampshire 03101
christopher.lisy@skadden.com                         (603) 623-8700
                                                     nsackman@bernsteinshur.com
                                                     rgagliuso@bernsteinshur.com
                                                     cferrari@bernsteinshur.com

                                                     Counsel for Defendants Markel CATCo
                                                     Investment Management Ltd and Markel Corp




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